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16 STATUS REPORT
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                                  Statement from
                           Dr. Leigh R. Anderson,
     Executive Director of the Police Accountability Team

I am pleased to provide you with an update on the significant progress the City of
Cleveland has made in our efforts to comply with the Consent Decree during this
reporting period. With     zero    downgrades and fourteen upgrades,         the   City
demonstrated our commitment to transparency, accountability, and community trust
as we diligently worked to improve policing practices and create a safer environment
for all residents.

Throughout this period, we implemented substantial improvements across key areas,
including bias-free policing, use of force, crisis intervention, and data transparency.
Our comprehensive training initiatives and the establishment of the Office of Urban
Analytics and Innovation positioned us to not only meet compliance requirements but
to also exceed expectations in our community engagement efforts. We restored
access to critical data systems for the Monitoring Team, ensuring that our practices
align with the highest standards of accountability and transparency.

The emphasis on effective supervision and the ongoing development of the Officer
Intervention Program underscored our commitment to building a supportive
environment for our police personnel.

As we move forward, we remain dedicated to continuous improvement and
community involvement. Our partnership with the Monitoring Team is invaluable as
we navigate this journey toward full compliance. Together, we are not just reforming
police practices; we are fostering a culture of excellence and accountability that will
benefit every resident in Cleveland.




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Report Purpose
This is the City of Cleveland’s 16th Semi-Annual Report (the Report), as described in
¶387 of the Settlement Agreement, between the United States of America and the City
of Cleveland, case 1:15-cv-01046-SO, United States District Court, Northern District of
Ohio, Eastern Division. This report will delineate the steps taken by the City during the
reporting period to comply with the Settlement Agreement; the City’s assessment of
the status of its progress; plans to correct any problems; and responses to any
concerns raised in the Monitor’s 15th Semi-Annual Report.

The reporting period for this Report is January 1, 2024 – June 30, 2024. The Report has
been authored by the City’s Police Accountability Team (PAT), which is the City’s
designated lead for ensuring and pursuing Consent Decree compliance. References
to “us” or “we” include all entities of the City of Cleveland. However, this Report may
also contain references to specific City Departments, Divisions, Commissions, Boards,
and employees within the City. There may be additional City perspectives not
reflected in this report.

Finally, the City does not intend to make any admissions or adoptions of the Monitoring
Team’s opinions with the issuing of this Report. The Police Accountability Team has
placed its advocacy for paragraph upgrades in its Compliance Advocacy Document,
which has been shared with the Monitoring Team and the Department of Justice
(DOJ). The City reserves the right to further argue for additional upgrades beyond
what it has detailed in this Report.

This Report is based on the information available at the time of writing and may not
encompass all relevant developments or perspectives related to the issues discussed.
This Report may not fully address all progress, criticisms or concerns arising during the
Reporting Period, and the PAT welcomes input from stakeholders to further clarify any
positions or questions.




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Executive Summary:

   1. Community Engagement and Building Trust

The City of Cleveland appreciates the insights the Monitoring Team provided
regarding our efforts to foster community engagement and build trust. The Cleveland
Division of Police (CDP) is committed to outreach initiatives that create lasting
relationships with residents. The Community Police Commission (CPC) continues to
hold monthly public meetings, providing vital opportunities for community feedback.

The PAT is pleased that the growing collaboration with the CPC has nearly eliminated
outstanding document requests, reflecting our dedication to transparency and
accountability. Open communication is essential for building trust within the
community.

We value the Monitoring Team's encouragement to maintain focus on engagement
efforts and remain committed to prioritizing these initiatives in the coming months.
Ongoing collaboration with the CPC and District Policing Committees (DPCs) is crucial
as we strengthen community policing principles.


   2. Community and Problem-Oriented Policing

The PAT appreciates the acknowledgment of our recent progress in Community and
Problem-Oriented Policing (CPOP) following the prior downgrade. We recognize the
importance of an effective training program and are committed to implementing the
necessary changes. Additionally, the City applied for and was awarded technical
assistance from DOJ’s Community Oriented Policing Services (COPS) Office to revamp
CDP’s CPOP work.

The commitment of CDP to oversee the CPOP strategy reflects CDP’s dedication to this
initiative. There is palpable enthusiasm and vision to the role, and CDP is confident in
his ability to drive the cultural shift needed for successful implementation of CPOP. The
PAT looks forward to seeing the positive impact of these efforts on our policing
practices and community relationships, reinforcing our commitment to the principles
of the Consent Decree.




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       3. Bias Free Policing

The PAT appreciates the Monitoring Team's recognition of our efforts to integrate bias-
free policing principles into our policies and training. We understand the importance
of demonstrating comprehensive implementation across all operations, and we are
committed to addressing any gaps that may exist. The PAT acknowledges the
Monitoring Team’s request for further evidence to validate the integration of these
policies into CDP operation. Our goal is to uphold the highest standards of fairness and
accountability in policing, and we appreciate the ongoing support as we strive to
enhance these critical aspects of our operations.


       4. Use of Force

After a collaborative effort among the Parties to resolve concerns with State and
Federal law regarding State maintained databases, the City of Cleveland has restored
access to the necessary data systems for reviewing use of force cases. The Monitoring
Team is currently engaged in a rolling assessment of CDP’s use of force cases and we
routinely engage with the Monitoring Team to receive feedback which helps us
improve our practices. The PAT understands that warranted upgrades in compliance
scores depend on thorough formal assessments, and we are actively working to
ensure our practices continue to align with policy requirements.


       5. Crisis Intervention

The City of Cleveland appreciates the ongoing collaboration among community
stakeholders, City government, the DOJ, and the Monitoring Team through the monthly
crisis intervention working group meetings. We are pleased that the compliance
assessment in crisis intervention is underway, and the PAT commends CDP for their
prompt provision of assessment data. The recent efforts to create a system for
reviewing police training and curricula development reflects CDP’s commitment to
improving crisis intervention practices. Additionally, the development of a publicly
accessible    Crisis   Intervention   Dashboard   demonstrates     our   dedication   to
transparency and community engagement. We are also proud of the progress made
in maintaining our Crisis Intervention Training (CIT) program, which has led to an
upgrade in compliance from Partial Compliance to Operational Compliance. We look
forward to continuing this important work and reinforcing our commitment to effective
crisis intervention strategies.

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      6. Search and Seizure

The City of Cleveland acknowledges the concerns raised in the 14th Semiannual
Report regarding search and seizure activities and is pleased to report that progress
has resumed in this critical area. The submission of the CDP’s 2022 Stops Data Report,
along with the necessary 2023 Stops Data-related information, has provided the
Monitoring Team with the resources needed for a thorough formal assessment. CDP is
optimistic about the upcoming search and seizure assessment, scheduled to
commence in the next reporting period. These advancements reflect our commitment
to improving our practices and ensuring compliance with the Consent Decree.


      7. Accountability

As noted in the Monitor’s 15th Semiannual Report, CDP’s Internal Affairs (IA) unit
continues to progress in improving practices and working toward compliance goals
under the Consent Decree. The hands-on leadership within IA has indeed been
instrumental   in   advancing    our   compliance     efforts.   The   finalization   and
implementation of the IA Manual has significantly contributed to our progress, and we
commend the unit for their dedication to expediting this process while collaborating
closely with the DOJ and the Monitoring Team.

We are also pleased to highlight the strong partnership between the Administrator of
the Office of Professional Standards (OPS) and the Chair of the Civilian Police Review
Board (CPRB). This collaboration has streamlined the case review process and
resulted in a notable reduction of the backlog in cases for review by the Board.


      8. Transparency and Oversight

The City of Cleveland is pleased to report progress in addressing the Transparency
and Oversight components of the Consent Decree, particularly with the recent
amendment to the Inspector General paragraphs of the Consent Decree. We believe
this role is essential for enhancing accountability and transparency within our policing
practices. We look forward to filling the position in the coming reporting period.
Additionally, the City’s Open Data Portal now hosts comprehensive CDP crime data in
a user-friendly format, making it accessible to the public and researchers alike.




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       9. Officer Assistance and Support

CDP’s Training Section continues to progress in developing multi-year training plans
and adapting trainings to remain consistent with 21st century policing standards. We
recognize the importance of full collaboration among all CDP units to ensure that
training is consistent and effective.

In terms of recruitment and retention, CDP’s Recruitment unit employs innovative
strategies to address staffing shortages, which are affecting departments nationwide.
We are committed to prioritizing this issue at the highest levels of City government
and have begun expedited hiring events in collaboration with Public Safety’s
Recruitment team.


       10. Supervision

The City of Cleveland is encouraged by the positive feedback regarding supervisor
review and engagement during and after use of force incidents based on Wearable
Camera System (WCS) footage. CDP supervisors are committed to conducting
thorough evaluations of officer performance, which is essential for accountability.

We look forward to the upcoming comprehensive supervisor and leadership training
in the second half of 2024. This initiative reflects CDP’s commitment to enhancing
supervisory skills and fostering effective leadership within the division.

Finally, CDP has made significant strides in developing an Officer Intervention Program
(OIP) by partnering with Benchmark Analytics. This system will enhance CDP’s ability
to collect and manage officer data across the Division while providing helpful analysis
to   inform   supervisory   duties.     We   also   appreciate   the   Monitoring   Team's
acknowledgment of CDP’s revised WCS policies concerning supervisory audits and
look forward to their review in future reporting periods.




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Complete Findings:

   1. Community Engagement and Building Trust

The City of Cleveland is proud of the substantial progress made in community
engagement and building trust with our residents. CDP has made it a priority to
actively involve new recruits in outreach initiatives, fostering strong connections from
the start of their careers. CDP’s command staff is leading by example, demonstrating
accessibility and responsiveness to community concerns. These efforts are vital for
creating lasting relationships and promoting cooperation.

The CPC has shown commendable progress in assessing training and policy
development,    with   thirteen   trainings       and   thirteen   policies   approved.   The
establishment of workgroups to tackle specific initiatives highlights our commitment
to collaboration and continuous improvement. While the Monitoring Team has noted
some internal challenges within the CPC, we are optimistic that the upcoming
appointments will strengthen its cohesion and effectiveness.

We recognize the need to engage all community members, especially those who
remain distant from our outreach efforts. We are committed to creating opportunities
for these individuals to engage with the police. Additionally, we understand the
importance of ongoing transparency regarding community engagement strategies
and look forward to providing updates to the Monitoring Team and DOJ.

The DPCs are continuing their outreach and fostering open dialogues between
residents and law enforcement. We look forward to the expanded partnership with
CDP, CPC and the Community Relations Board to increase the diversity in attendance
at these meetings.


   2. Community and Problem Oriented Policing

The PAT is excited to report significant progress in our CPOP efforts, driven by our
commitment to building strong community partnerships and enhancing public safety.
The ongoing technical assistance from the DOJ’s COPS Office has played a crucial role
in revitalizing our CPOP strategy, and CDP is proud of the enthusiastic leadership
provided by Captain Timothy Maffo-Judd. His vision for CPOP emphasizes
collaboration and effective problem-solving, which are essential for fostering trust
between the police and our communities.

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The introduction of the CPOP Coordinator (CPOP-C) positions in two Districts
represents a transformative step towards integrating community engagement into
the daily operations of CDP. These coordinators serve as vital liaisons among District
personnel, community members, and various stakeholders, ensuring a consistent and
responsive approach to addressing community concerns. CDP is committed to
expanding this initiative across all Districts, further embedding CPOP principles within
our practice.

Further, CDP has developed a new CPOP award for officers which recognizes effective
CPOP project as selected by community members. The selection of awardees by
community members is an essential part of the selection process as this reflects CDP’s
commitment to community involvement in recognizing effective policing practices.
The Division, through the Data Collection and Analysis team, has engaged in reviewing
and recommending changes to the current CPOP data collection form to better
capture CPOP data and enhance service delivery. The PAT and CDP appreciate the
Monitoring Team's support of these innovative tools, which are essential for
addressing the diverse needs of our community members.

While we acknowledge the challenges of achieving agency-wide buy-in for CPOP, CDP
believes that Captain Maffo-Judd’s leadership, coupled with Chief Todd's strong
reinforcement, will drive this philosophy throughout the City. We are committed to
making CPOP a core value of our organization, rather than just a program. The PAT
remains optimistic about the forthcoming CPOP training curriculum and looks forward
to the Monitoring Team’s evaluation in future monitoring periods.


   3. Bias-Free Policing

CDP continues to utilize the Bias-Free Policing policy developed in collaboration with
the CPC and community. This policy continues to be a testament to our commitment
to ensure that bias-free policing is not just a goal, but a foundational principle of the
CDP.

While we understand the Monitoring Team's concerns regarding community
engagement differences across different districts, CDP views this as a critical
opportunity for growth and enhancement rather than a setback. The engagement
data indicates that officers are actively participating in community outreach,
particularly in Districts 1, 2, and 3. CDP recognizes the request to increase engagement
and further analyze the data in Districts 4 and 5, because our goal is to ensure that all

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communities feel represented and heard, especially those in historically underserved
neighborhoods.

With regards to the 12-civilian biased-policing complaints recorded in 2022, none of
these complaints were sustained, suggest that CDP training and policies are effective;
however, we agree that ongoing, longitudinal assessments are necessary for
comprehensive evaluations. The City is committed to refining our complaint data
collection and analysis processes to ensure that we can track trends effectively over
time and address any potential issues proactively.

We also appreciate the Monitoring Team's focus on ensuring that CDP’s recruitment,
hiring, and promotion practices align with our bias-free policing objectives. The City is
dedicated to enhancing transparency and accountability in these areas, and we will
publish reports that detail our findings, progress and shortcomings.


   4. Use of Force

The City of Cleveland recognizes the positive strides made in the area of Use of Force,
particularly in demonstrating that officers and supervisors are adhering to policies set
forth in the Consent Decree. The ongoing assessments of use of force incidents for
2022 and 2024 affirm that CDP personnel are generally compliant with established
protocols. This is a significant achievement, reflecting the commitment of our officers
to operate within the guidelines provided by the Consent Decree and CDP policy.

CDP has proactively addressed previous concerns related to the Force Investigative
Team (FIT) and has made substantial changes to improve the timeliness and
effectiveness of investigations. The City looks forward to further discussing another
assessment of the FIT by the Monitoring Team so we can better understand our
compliance with ¶ 122 as well as hear feedback on if further improvements are needed.
This collaborative approach showcases our dedication to continuous improvement
and accountability within the department.

The Force Review Board (FRB) continues to meet to review level 3 uses of force and a
random sampling of level 2 uses of force by the Division, showcasing CDP’s
commitment to enhancing the review process and engaging in meaningful
discussions surrounding incidents of force. An established FRB work group allows for
Monitoring Team members who observed FRBs to share their observations directly
with the Chief and provide input in improving our practices. This work group is a


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reflection of CDP’s desire to not only comply with the Consent Decree but to strive for
excellence in policing.

While CDP acknowledges the Monitoring Team’s concerns about the potential for
underreporting of use of force incidents, CDP emphasizes that it is committed to
ensuring policy compliance to enhance transparency and accountability.

In addressing the perceived shortcomings in tactical decision-making and officer
safety during use of force incidents, CDP wants to underscore that while these may
not constitute rule violations, they present an opportunity for professional growth. CDP
firmly believes the FRB can also serve as a platform for constructive feedback,
coaching, and performance enhancement. In this vein, FRBs have consistent updates
to their checklist to include recommendations for improvement for involved officers.
CDP is testing a Power BI dashboard internally that provides updates to the FRB on the
status of these recommendations. CDP sees this as essential not just for compliance,
but for fostering a culture of excellence within CDP’s ranks.

The anticipated updates to FRB training are a priority for the City, and we are
committed to ensuring that this revised training meets the needs of our officers while
reinforcing best practices in the field. We look forward to sharing this training with the
Monitoring Team, ensuring our officers are equipped with the skills and knowledge
necessary to execute their duties effectively.


   5. Crisis Intervention

The City of Cleveland is proud of the substantial progress made in crisis intervention,
a crucial area highlighted in the Consent Decree. The collaboration between CDP, the
Department of Health, and the Mental Health Response Advisory Committee (MHRAC)
has resulted in a robust framework for addressing and responding to individuals in
crisis, reinforcing our commitment to effective, community-driven solutions.

We appreciate the Monitoring Team's acknowledgment of our efforts. This cooperation
has laid a strong foundation for continuous improvement, ensuring that our approach
is not only effective but also inclusive of community voices. The partnerships we have
fostered with various agencies are essential in establishing confidence in the quality
of training provided to our officers.

The City has been proactive in expanding our CIT program, with consistent interest in
the voluntary 40-hour Specialized Crisis Intervention Trained (SCIT) classes and

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notable increases in the presence of SCIT officers at crisis events. We recognize the
importance of demonstrating leadership by these specially trained officers in critical
response situations. CDP has also increased the number of co-responder units to six
teams with the additional team in District 2 during the day shift, demonstrating CDP’s
commitment to growing the co-responder program to ten teams and ensuring full
coverage in all districts. Additionally, CDP’s CIT Coordinator and officer in charge have
dedicated numerous hours presenting CDP’s CIT program internally to increase officer
buy-in and interest in becoming a SCIT officer as well as externally to community
partners to increase the community’s knowledge of the Division’s CIT program.

The City is excited about the Open Data Portal and our new ability to easily share our
data publically. Our newly developed Crisis Intervention Dashboard exemplifies our
dedication to transparency and data-driven decision-making, enabling us to share
vital information with the community. This dashboard currently provides data
regarding crisis calls for service by call type, frequency of calls by time of day,
demographic information by incident, and more. Below is a display of CIT data from
they data portal that is accessible to the public.




While we acknowledge the challenges ahead, the PAT firmly believes that the structure
the City has established will lead to improved outcomes and compliance with Consent


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Decree requirements. MHRAC’s Data and Growth Subcommittee will play a pivotal role
in utilizing CDP data to enhance CDP’s crisis response strategies, reinforcing our self-
correcting capacity to identify and address gaps in coverage.

We understand that building community trust is a gradual process, but we are
steadfast in our commitment to demonstrating the effectiveness of our crisis
intervention initiatives. Our collaborative approach positions us well to create a
sustainable model that prioritizes the health and safety of individuals in crisis.

As we continue this journey, the City remains dedicated to achieving exemplary
standards in crisis intervention. We look forward to the Monitoring Team's assessment
and are confident that our sustained efforts will reflect positively on our compliance
status in the near future.


   6. Search and Seizure

The City of Cleveland is committed to advancing its search and seizure practices in
alignment with the Consent Decree, and we recognize the importance of ongoing
collaboration with the Monitoring Team and the DOJ in this endeavor. Significant
progress has been made, particularly with the restoration of the Monitoring Team’s
access to critical data systems following the Court Order in March 2024. This
development is crucial for facilitating a comprehensive assessment of the search and
seizure protocols, and we appreciate the Monitoring Team’s willingness to proceed
with this important evaluation.

The City’s proactive steps, including the submission of the 2022 Stops Data Report and
our engagement with the Monitoring Team to discuss feedback, demonstrate our
commitment to transparency and continuous improvement. We value the
constructive dialogue that occurred during the July site visit, as it allowed us to refine
our practices and ensure that future reports effectively address the concerns raised.
Our collaborative approach is not only a reflection of our dedication to compliance
but also a critical element in restoring community trust.

We are actively working to set up internal feedback loops to audit our stop data,
demonstrating our commitment to ownership over this process. The goal of this
internal audit function is to help inform future training and potential policy updates
related to stop, search and seizure while addressing any gaps that may exist.




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   7. Accountability

The City of Cleveland is dedicated to fostering a robust accountability framework
within the CDP and is proud of the substantial progress made in recent reporting
periods. Our commitment to implementing the terms of the Consent Decree is
unwavering, as we recognize that accountability is essential not only for compliance
but also for building trust with our community.

The systematic approach undertaken by IA has yielded concrete improvements in the
investigative process, including the provision of a final report template and case
examples. This demonstrates CDP’s commitment to thorough and transparent
investigations. We are actively working toward General Compliance, and the training
curriculum currently under review will ensure that all IA investigators receive the
necessary training to uphold these standards.

Furthermore, OPS has made significant strides in reducing case backlogs, ensuring
that cases are completed in a timely manner. This decrease in backlog is due to
leadership within OPS working towards increasing personnel and continuous
improvement for the office. The submission of the OPS and CPRB Manuals is a
significant milestone of success in accountability for the City.

While we acknowledge the challenges the Monitoring Team presented, measures
have been implemented to ensure that IA supervisors are well-informed about
procedures for entering allegations and IA leadership continues to work with
stakeholders to resolve any prolonged investigations. Access challenges faced by OPS
were a significant concern; however, ongoing communication between OPS, DOJ, and
the Monitoring Team throughout the reporting period has provided OPS with a
pathway to discuss these concerns and how they impact operations. The City is happy
to report these concerns have been addressed, and OPS leadership has reported no
concerns with accessing documents necessary to fulfill their obligations under the
Consent Decree.


   8. Transparency and Oversight

The City of Cleveland is firmly committed to enhancing transparency and oversight
within its public safety agencies and is proud of the significant strides made recently
in this area. The City worked alongside the DOJ and Monitoring Team to submit a
proposed amendment to the Court regarding the Inspector General (IG) position. This

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amendment changed the title and direct report of this position, a concern that limited
the City’s ability to fill this position previously. Changing the reporting structure of the
IG to report to the Chief Director of Public Safety instead of the Chief of Police provides
the IG with the necessary independence to conduct their duties as outlined in the
Consent Decree. We appreciate the feedback and collaboration from the Monitoring
Team and the DOJ throughout this ongoing process.

After the Court approved the amendment, the City began updating the IG job posting
to align with the requirements of the Decree and solicited input from the CPC on the
minimum qualifications and experience for the IG. We look forward to utilizing internal
and external resources to build a strong candidate pool in the next reporting period
and select a qualified candidate for this vital role.

Our recent implementation of the Open Data portal is another testament to our
dedication to transparency. This platform allows the public to access a wealth of data
in navigable formats, facilitating informed community engagement and oversight.
The modifications to our data processing practices further illustrate our commitment
to accountability and creates a tool for command staff to connect data with policy
and operations.


   9. Officer Assistance and Support

The City of Cleveland is committed to enhancing officer assistance and support, and
we are proud of the progress made in our training, equipment, recruitment, retention,
and overall operational framework. The establishment of an annual training plan,
which includes a comprehensive three-year strategy, showcases our dedication to
continuous improvement. The Training Section has effectively integrated essential
concepts such as de-escalation, use of force, and crisis intervention into both
classroom and scenario-based training, demonstrating our proactive approach to
preparing officers for real-world challenges.

Furthermore, we appreciate the Monitoring Team’s acknowledgment of the
improvements in classroom management and training delivery. Our ongoing
collaboration with the Monitoring Team and DOJ, including regular working group
meetings, ensures that we are responsive to feedback and committed to refining our
training programs.




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The City’s equipment procurement and replacement processes have significantly
improved CDP’s ability to implement current IT systems. CDP’s partnership with the
City’s Information Technology Services (ITS) is robust, ensuring that officers have
access to the latest tools and resources necessary for effective policing. We are proud
that several paragraphs in our compliance reporting have been upgraded, reflecting
the City’s ongoing support and investment in public safety.

In terms of recruitment, the City has successfully hosted one-day expedited hiring
events that have yielded a notable increase in applicants, resulting in the largest class
in recent history. During these events, individuals are able to complete the pre-
employment steps necessary to be considered for the academy, including the
physical agility test and background checks. While we recognize the challenges posed
by voluntary separations, we are actively implementing new strategies to enhance
retention among our officers. The return of former officers, drawn back by our updated
incentives, speaks to the positive changes we are making to create a supportive work
environment.

Regarding performance and promotions, the City is deeply committed to ensuring
that our processes uphold the highest standards of integrity and accountability. While
concerns about specific promotions were highlighted, we are actively updating our
promotional policies to ensure they are fair, transparent and comply with the Consent
Decree. It is crucial that we promote individuals who embody the values of our division
and the expectations set forth in the Consent Decree.

In the area of employee assistance, we recognize the importance of a strong health
and wellness program. We are committed to implementing effective support systems
that underscore our dedication to the well-being of our officers. This has been
demonstrated through the City’s new contract with Benchmark Analytics to ensure
officers are supported and receive early intervention. The City of Cleveland is
unwavering in its commitment to reform and improvement within CDP.


   10. Supervision

The City of Cleveland is making significant strides in the area of supervision,
demonstrating a steadfast commitment to enhancing the capabilities and
effectiveness of the supervisory staff within the Cleveland Division of Police. The
implementation of the approved curriculum for Supervisory training is a key milestone
that reflects our dedication to fostering leadership and accountability. Initial feedback

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from the pilot sessions indicates that supervisors are engaged and receptive, which
bodes well for the program's future success.

We acknowledge the importance of the OIP and are pleased to report that the process
for developing a robust OIP database is underway. The City selected Benchmark
Analytics’ Early Intervention System and are poised to move forward swiftly. The OIP is
not merely an administrative tool; it is a vital component of our strategy to ensure a
healthy and effective workforce. We are fully committed to the database development
and subsequent training, recognizing that a proactive approach is essential for our
officers' growth and well-being.

It is essential to note that ongoing use of force reviews indicate that supervisors are
adhering to established CDP protocols. Sergeants must be equipped to identify and
address issues effectively. This consistency is a testament to our training efforts and
the professionalism of our supervisory staff. We are open to feedback for continued
improvement of the supervisory review processes. We are fully committed to
strengthening the supervisory framework, recognizing that effective supervision is
critical for both officer performance and community trust.

Additionally, we are aware of the need to refine our promotional processes. The City is
committed to promoting individuals who exemplify the highest standards of conduct
and leadership. We will ensure that our promotional decisions are made with careful
consideration of each candidate’s record, emphasizing the importance of Consent
Decree compliance.




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Conclusion

The City of Cleveland is steadfast in its commitment to reforming the CDP and
enhancing accountability, transparency, and community trust. We have made
significant strides across multiple areas, demonstrating our dedication to meeting the
requirements of the Consent Decree.

Our internal accountability measures have improved. The Internal Affairs unit has
adopted systematic processes to ensure compliance with all relevant protocols.
Moreover, we have prioritized transparency by developing a revised IG position that
enhances independence. The partnership with the Office of Urban Analytics and
Innovation and the launch of the CIT Dashboard highlights our commitment to data
transparency. We are working diligently to ensure that our data practices not only
comply with the Consent Decree but also serve the public interest.

Training and support for our officers have been enhanced significantly. The annual
training plan includes a comprehensive three-year training outline, emphasizing
critical areas such as de-escalation and procedural justice. We have also improved
our equipment procurement processes, ensuring that our officers are well-equipped
to perform their duties effectively.

Recruitment and retention strategies have yielded positive results, with a record
number of recruits joining the force. We recognize the importance of maintaining a
high-quality workforce and are continually exploring new ways to incentivize retention
among our officers.

Lastly, we are focused on refining our supervision practices to ensure that all
supervisors serve as positive role models. The outsourcing of our Officer Intervention
Program database development is a step toward building a robust support system for
our officers.

In summary, the City of Cleveland is fully engaged in the reform process, making
substantial progress in compliance with the Consent Decree. We remain committed
to fostering a culture of accountability, transparency, and community trust, and we
look forward to continued collaboration with the Monitoring Team and all stakeholders
to achieve our goals. Together, we are creating a safer and more equitable
community for all.




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